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                        EXHIBIT C
             Mexican District Attorney’s Opinion
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                                              DEPUTY DISTRICT ATTORNEY’S OFFICE OF PROCEDURES
[Logo of the General                          ATTORNEY’S OFFICE OF PROCEDURES IN CIVIL COURTS
Attorney’s Office of         Justice
Mexico City]               Mexico City


                                                                                 Mexico City, JULY 5, 2022
                                              SUBMISSION OF EVIDENCE
                                               ROMANOS BERRONDO ANGEL FRANCISCO
                                               VS
                                               CRÉDITO REAL, SOCIEDAD ANÓNIMA BURSÁTIL,
                                               C.V., SOFOM, ENTIDAD NO REGULADA
                                               SPECIAL COMMERCIAL ACTION
                                               FILE: 691/2022
                                               Court Clerk A

FIFTY-SECOND JUDGE FOR CIVIL MATTERS
OF MEXICO CITY


The District Attorney assigned to this Court, in compliance with the proceeding ordered in court record date June 30,
2022, which was notified to me by means of official communication number 2534/2022.

After revising and taking into consideration the participation of the undersigned as per request of your Honor, since
the undersigned is the District Attorney assigned to this Court, I hereby state:

      1.     According to the provisions of article 229 of the General Law of Business Corporations, the business
corporations, such as CRÉDITO REAL, S.A.B. DE C.V., SOCIEDAD FINANCIERA DE OBJETO MÚLTIPLE, dissolved
whenever they fall within the scope of any of the following assumption:

                “Article 229.- Corporations are dissolved:
                I.- Due to expiration of the term provided in the shareholders’ agreement;
                II.- Due to inability to continue performing the main corporate purpose of the company
                or because the main corporate purpose of the company has been already met;
                III.- Due to an agreement of the partners taken in accordance with the shareholders’
                agreement and Law;
                IV.- Because the number of shareholders is lower than the minimum number provided in
                this Law or the partnership interests are held by a single person;
                V.- Due to the lack of two thirds of the capital stock.
                VI.- By a judicial or administrative ruling entered by competent courts, according to the
                causes provided in the applicable laws.”
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                                            ATTORNEY’S OFFICE OF PROCEDURES IN CIVIL COURTS
ATTORNEY’S OFFICE OF      JUSTICE
MEXICO CITY]             MEXICO CITY




       2.     Dissolution consists of the legal even that updates or anticipates the end of the company’s life and
terminates the liaison binding the partners, but does maintain the legal existence and capacity exclusively for
liquidation purposes.

        3.     Dissolution is always followed by liquidation, understanding liquidation as the stage where any and all
transactions pending upon dissolution are concluded; that is, the company collects any amount owed to it, the
company pays any debt, and, in the event of any remaining amount, it is allotted among the partners pro-rate to
their share in the company’s capital.

       4.     Dissolution may only happen as a generator fact of one and only consequence; that is, liquidation by
operation of law (ipso iure) or willed act by the company (Article 229, Section III of the General Law of Business
Corporations).

       5.     In the case at issue, according to the documentation contained in the court records, CRÉDITO REAL,
S.A.B. DE C.V., SOCIEDAD FINANCIERA DE OBJETO MÚLTIPLE, ENTIDAD NO REGULADA, lost two thirds of its capital
stock; therefore, CRÉDITO REAL, S.A.B. DE C.V., SOCIEDAD FINANCIERA DE OBJETO MÚLTIPLE, ENTIDAD NO
REGULADA falls within the scope of the cause of dissolution provided in Article 229, Section V, of the General Law of
Business Corporations, which is to be analyzed by your Honor.

        6.     Therefore, after having requested the acknowledgement of dissolution of CRÉDITO REAL, S.A.B. DE
C.V., SOCIEDAD FINANCIERA DE OBJETO MÚLTIPLE, ENTIDAD NO REGULADA for having lost two thirds of its capital
stock, it must follow its liquidation by operation of law, dissolution which is being already acknowledged and pursued
by this court authority, and CRÉDITO REAL, S.A.B. DE C.V., SOCIEDAD FINANCIERA DE OBJETO MÚLTIPLE, ENTIDAD
NO REGULADA being in liquidation process.

       7.      In view of the foregoing, after having filed a commercial action regarding CRÉDITO REAL, S.A.B. DE C.V.,
SOCIEDAD FINANCIERA DE OBJETO MÚLTIPLE, ENTIDAD NO REGULADA, the District Attorney considers as not
admissible the declaration of bankruptcy, according to the provisions of Article 21 of the Bankruptcy Law, since (i)
the company itself decided not to file a bankruptcy action under the terms of the Bankruptcy Law, since what was
realized was the cause for dissolution provided in Article 229, Section V of the General Law of Business Corporations;
and, (ii) there is no legal reason to demand CRÉDITO REAL, S.A.B. DE C.V., SOCIEDAD FINANCIERA DE OBJETO
MÚLTIPLE, ENTIDAD NO REGULADA bankruptcy, since due to anything previously stated and analyzed, as evidenced
in court records, liquidation is to follow, as to be ordered by your Honor.

Based on the provisions of Articles 8, 20 and 21 of the Political Constitution of the United Mexican States; 129, 130,
131, Sections V and XXIII, 212 and 222 of the National Code of Criminal Procedures; Article 2 Sections I and II, 3,
Section I, and 8 of the Organic Law of the District Attorney’s Office of the Federal District, and Article 66 of the
Regulations to the invoked Law.
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ATTORNEY’S OFFICE OF         JUSTICE
MEXICO CITY]                MEXICO CITY




In view of anything stated above, I hereby respectfully request your Honor to:

SOLE.- To consider this Authority as complying in due time and proper form the order contained in the court records.

                                                                                                     [Stamped seal reading:]
                                                                                                              “[LOGO]
                                                      SINCERELY                                 DISTRICT ATTORNEY’S OFFICE OF THE
                                                  DISTRICT ATTORNEY                                      FEDERAL DISTRICT
                                                                                                       ATTORNEY’S OFFICE OF
                                                     [SIGNATURE]                                   PROCEDURES IN CIVIL COURTS
                                          MIRIAM ANGÉLICA MONROY [ILLEGIBLE]                    2nd DISTRICT ATTORNEY’S OFFICE OF
                                                                                                           PROCEDURES
                                                                                                            FIRST UNIT”




I, ZULUEM JULIETA GARCÍA PACHECO, Expert Translator authorized by the Tribunal Superior de Justicia de la Ciudad de
México [Superior Court of Justice of Mexico City], pursuant to the ruling published in the Boletín Judicial [Court Bulletin] on March
8, 2021, hereby attest that the preceding translation from Spanish language contained in three (3) page is, at the best of my
knowledge, true, complete and correct.




Zuluem Julieta García Pacheco
Mexico City, Federal District, July 25, 2022
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E-mail: zuluemgp@prodigy.net.mx
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